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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS
MIDLAND-ODESSA DIVISION

DONALD H. RILEY .IR. AND SHARI
A. RILEY

Plaintiffs,
V. Civil Action No. 7:17-CV-00187
NATHAN PLASSMAN AND
TRAVELERS LLOYDS OF TEXAS
INSURANCE COMPANY

Defendants

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DEFENDANT TRAVELERS LLOYDS OF TEXAS INSURANCE COMPANY’S
NOTICE OF REMOVAL

Defendant TRAVELERS LLOYDS OF TEXAS lNSURANCE COMPANY, (“Travelers” or
“Defendant”), files its Amended Notice of Removal of this action from the 244TH Judicial District
Couit, Ector County, Texas to the United States District Court for the Western District of TeXas,
l\/[idland-Odessa Division, the Court for the District and Division encompassing the place Where the
lawsuit is currently pending ln support of this removal, Defendant relies upon the Appendix Filed in
Support of Defendant’s Notice of Removal filed contemporaneously herewith and shows the
following

I.
INTRO])UCTION

l. On Septernher l, 2017, Plaintiff Donald H. Riley Jr. and Shari A. Riley filed their original
petition in the 244TH J udicial District Court, Ector County, Texas captioned Donald H. Rifey Jr. and
Shm”i A. Riley v. Naz‘han Plassman and T)"avelers Lloyds of Texc/s Insumnce Compcmy, Cause

Number C-l7-09~l 047-CV (the “State Court Action”).

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2. Citation for the State Court Action Was issued on September 5, 2017 and served on
Defendant Travelers Lloyds of Texas Insurance Cornpany via Certified Mail on Septernber 8, 2017.

H.
BASIS FOR REMOVAL

3. This Court has original jurisdiction over this State Court Action, pursuant to 28 U.S.C.
§1332(a), because it is a civil action between citizens of different states vvhere the matter in
controversy exceeds the sum or value of $75,000.00, exclusive of interest and costs.

4. The Plaintiffs seek monetary damages over $50,000.00 but not more than $1,000,000.00,
contrary to fean Rule of Civil Procedure 47(0). See Exhibit A-l at paragraph 4, page 2. Plaintiffs
seek damages for breach of contract, the value of their claim, violations of the Texas lnsurance Code,
Deceptive Trade Practices, breach of the duty of good faith and fair dealing, fraud, attorneys’ fees,
and exemplary damages Accordingly, the amount in controversy in this matter meets and exceeds
the federal jurisdictional minimum of $75,000, exclusive of interest and costs

5 . Plaintiffs Were at the time of the filing of this action, have been at all times since, and still
are individual resident citizens of Texas. See Exhibit A- lat paragraph 2. For diversity purposes, an
individual is a citizen of the state of his domiciie, Which is the place of his true, fixed, and permanent
home and principal establishment, to Which he has the intention of returning home vvhenever he is
absent therefrom See Stine v. Moore, 213 F.2d 446, 448 (Sth Cir. 1954). Accordingly, Plaintiff is a
citizen of Texas.

6. Defendant Traveiers Lloyds of Texas Insurance Company is a Lloyd’s plan insurance
association and is an unincorporated association F or purposes of diversity jurisdiction, the
citizenship of a Lloyd’ s plan insurance association is determined by the citizenship of its

underwriters Royaf las Co. ofAm'. v Quz'nn~L Capital Corp., 3 F.3d 877, 882-83 (5&‘ Cir. 1993): see

 

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also State Farm Lloya’s v. Peea’, No. CIV.A. 3:00CV1696-BC, 200l WL 513427 (N.D. Tex. May 9,
2001)(“ F or purposes ofdiversity jurisdiction, a Lioyds Plan insurer is considered an ‘Luniicoiporated
association’ whose citizenship is determined solely by the citizenship of its underwriters.).

7. At the time of the filing of this action, and at all times since, including the date of removal,
Travelers Lloyds of Texas lnsurance Company’s underwriters are all citizens of Connecticut; none of
its underwriters are citizens of Texas. See Exhibit B. Accordingly, Travelers Lloyds of Texas
lnsurance Company is a citizen of Connecticut.

8. Defendant Nathan Piassman (“Plassman”) was at the time of the filing of this action, has
been at all times since, and still is an individual resident citizen of the State of Tennessee. See
Exhibit A-l at paragraph 3 and Exhibit C.

9. The joinder of Nathan Plassrnan does not prevent removal for an additional reason. By
virtue of House Bill No. 1774, the Texas lnsurance Code was amended in cases involving first party
insurance claims against insurance Companies. The amendment included the addition of Sec. 542
A.006, entitled “ACTION AGAINST AGENT; INSURANCE ELECTION OF LEGAL
RESPONSIBILITY.” Under that provision:

“(a) Except as provided by Subsection (h), in an action to which this chapter applies,
an insurer that is a party to the action may elect to accept whatever liability an
agent might have to the claimant for the agent’s acts or omissions related to the

claim by providing written notice to the claimant

(c) lf a claimant files an action to which this chapter applies against an agent and the
insurer thereafter makes an election under Subsection (a) with respect to the agent,

the Coui‘t shall dismiss the action against the agent with prejudice.”

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This amendment went into effect on September 1, 2017J which is also the day the lawsuit was
filed in State Court. See Plaintiff" s Original Petition.

10. Travelers made the election under Sec. 542A.006 (a) by letter dated September 18, 2017.
See Exhibit “E”. Therefore, the joinder of Nathan Plassman should be disregarded for purposes of
jurisdiction as there is no reasonable basis to predict that Plaintit`f could recover for Nathan
Plassman’s alleged violation of the Texas lnsurance Code.

11. Because the amount in controversy exceeds 875,000 and Plaintiffs are citizens of Texas
while no properly joined defendant is a citizen of Texas, this Court has original jurisdiction over the
present action pursuant to 28 USC §1332. Therefore, removal is proper.

l2. Plassman consents to this removal See Exhibir D.

13. This action may be removed to this Court pursuant to 28 USC §144 1 (a), which allows for
the removal of any civil action brought in the state court of which the District Courts of the United
States have original jurisdiction, by the defendant or the defendants, to the District Court of the
United States for the district and division embracing the place where such action is pending

14. This Amended Notice of Removal is filed within thirty (30) days after service (on
September 8, 2017) by Defendants of the State Court Action. This Amended Notice of Removal is
also filed within one year of the filing of Plaintiff’ s Original Petition by which the State Court Action
was connnenced. This Notice, therefore, is timely filed pursuant to 28 USC §1446 (b).

III.
PROCEDURAL REQUIREMENTS

15. In accordance with 28 USC section 1446 (D), Defendants will promptly give written
notice of this Amended Notice of Removal to Plaintiffs through counsel of record and previously

filed a copy of their Notice of Removal in the 244TH indicial District Court, Ector County, Texas.

 

 

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16. Defendants reserve the right to amend or supplement this Notice of Rernoval.

1 7. The following are included in the Appendix filed contemporaneously with this Notice of
Removal:

(a) an index of all documents that clearly identifies each document and indicates the date
the document was filed in the State Court Action;

(b) a copy of the civil cover sheet in the State Court Action;

(c) a copy of each document filed in the State Court Action, except discovery material,
arranged in chronological order according to the state court filing date; and

(d) a separately filed JS-44 Civil Cover Sheet.

For the above reasons, Defendants give notice of the removal of the State Court Action to this
Court and respectfully request that this action proceed before this Court as though it had originally
been instituted in this Court.

Dated: § § September, 2017

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Respectfully submitted,

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Byi _- ' '-
ROBERT F. SCHEIHING
State Bar No. 17736350
ATTORNEY FOR DEFENDANT

CERTIFICATE OF SERVICE

This is to certify that a true and correct copy of the above and foregoing document has been
forwarded to the Qfollowing counsel of record in compliance with the F ederal Rules of Civii

Procedure this

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§ day of September, 2017:

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